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                                      EXHIBIT B




DOCS_DE:238948.1 05233/003
                                                        Exihibit B




                                                         Delivery &                                  Statement   Marketing Exp
Store #        Store Name    Merchandise    Royalty     Shuttle Fees   Warranty       Other            Total       Invoice     Total AR
          212 Genoa         $ 43,656.12 $     8,260.85 $    1,243.60 $   2,645.77 $     (939.60) $     54,866.74 $ 24,026.70 $ 78,893.44
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